                                       United States Bankruptcy Court
                                            District of Arizona
In re:                                                                                  Case No. 18-02788-BKM
Qore Systems, LLC                                                                       Chapter 7
         Debtor
                                         CERTIFICATE OF NOTICE
District/off: 0970-2           User: estrellam              Page 1 of 3                   Date Rcvd: Feb 11, 2019
                               Form ID: pdf001              Total Noticed: 87


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Feb 13, 2019.
db             #+Qore Systems, LLC,    60 E RIO SALADO PARKWAY,     TEMPE, AZ 85281-9126
cr            +++BRYANT HAYWARD,    2353 Sage Brush St,    Parker, CO 80138-4230
intp            +Michelle Perkins,    OWENS & PERKINS PC,     7322 E THOMAS ROAD,    SCOTTSDALE, AZ 85251-7295
intp            +Owens & Perkins, P.C.,     Owens & Perkins, P.C.,    7322 East Thomas Road,
                  Scottsdale, AZ 85251,      U.S.A. 85251-7295
intp            +Tiffany Peterson,    c/o Warren J. Stapleton,     Osborn Maledon, PA,
                  2929 N Central Ave Ste 2100,     Phoenix, AZ 85012-2793
intp            +Vince Adam,    c/o Warren J. Stapleton,    Osborn Maledon, PA,     2929 N Central Ave Ste 2100,
                  Phoenix, AZ 85012-2793
intp            +William R. Peterson,    c/o Warren J. Stapleton,     Osborn Maledon, PA,
                  2929 N Central Ave Ste 2100,     Phoenix, AZ 85012-2793
14950647         ARIZONA DIVISION OF REVENUE,     1600 W. Monrore Atreet,    Phoenix AZ 85007
14950648         ARIZONA DIVISION OF REVENUE,     CUSTOMER CARE,    PO BOX 29086,    PHOENIX AZ 85038-9086
14950649         ARIZONA SECRETARY OF THE STATE,     1300 WEST WASHINGTON STREET,     PHOENIX AZ 85007-2929
14950650        +ARIZONA SECRETARY OF THE TREASURY,     1700 WEST WASHINGTON STREET,     1ST FLOOR,
                  PHOENIX AZ 85007-2807
14950643         Alex Trimble,    Steve Moore,    Kilpatrick Townsend LLP,     8th Fl. Two Embarcadero Center,
                  San Francisco CA 94111
14950645        +AmerisourceBergen Drug Corporation,     227 Washington St.,     Conshohocken PA 19428-2086
14950644         AmerisourceBergen Drug Corporation,     1300 Morris Drive,     Chesterbrook PA 19087-5594
14950646         Andy Alexander,    2043 E. Silvosa St.,    Tucson AZ 85713-3856
14950651        +Beacon Unitied Cincinnati,     Carlin Group,    John Rutherford,    8500 Broadwell Rd.,
                  Cincinnati OH 45244-1614
14950652        +Bellco Drug Corp.,    5500 New Horizons Blve., N,     Amityville NY 11701-1156
14979919        +Bryant Hayward,    c/o Patrick Clisham,    Engelman Berger, P.C.,
                  3636 N. Central Ave., Ste. 700,     Phoenix, AZ 85012-1936
14950656        +Bryant Hayward & Voula Siderakis,     C/O William T. Luzader,     1430 E. Missouri Ave., #B-275,
                  Phoenix AZ 85014-2490
14950663        +CPA for Hire,    33755 N. Scottsdale Rd., #130,     Scottsdale AZ 85266-1568
14950657        +Capital Premium Financing Inc.,     12235 S. 800 E.,    Draper UT 84020-9726
14950658        +Carolina Manufacturer’s Services, Inc.,      635 Vine Street,    Winston-Salem NC 27101-4185
14950659         Charles Carothers,    611 S. Hawes Rd.,    Mesa AZ 85208-2256
15151683        +Coating Systems Laboratories Inc.,     c/o Renee Berman,    1600 N. Saba Street Unit 110,
                  Chandler, AZ 85225-0903
14950660        +Coating Systems Laboratories, Inc.,     C/O Danielle K. Graham,
                  Law Office of Danielle K. Graham,     15831 S. 33rd Place,     Phoenix AZ 85048-7237
14950661        +Coating Systems Laboratories, Inc.,     C/O Renee Berman,     835 W. Warner Rd., #101 #614,
                  Gilbert AZ 85233-7268
14950662        +Colonial General Insurance,     8475 E. Hartford Dr., #100,     Scottsdale AZ 85255-7809
14950664        +David Rosenbaum,    Osborn Maledon,    2929 N. Central Ave., 21st Fl.,     Phoenix AZ 85012-2782
14950665        +Del Bentz,    Prima Marin,    3242 W. Paradise Der.,    Phoenix AZ 85029-2333
14950666        +Environmental Protection Agency,     Office of General Counsel,
                  2310A 120 Pennsylvania Ave., N.W.,     Washington DC 20460-0001
14950667       #+GS1 US,    Princeton Pike Corporate Center,     1009 Lenox Dr., #202,
                  Lawrence Township NJ 08648-2321
14950669        +HBC Service Company,    101 Kappa Drive,     Pittsburgh PA 15238-2809
14950668        +Harley Feldberg,    7815 N. Sherri Lane,     Paradise Valley AZ 85253-2969
14950673        +J.A. Street and Asociates,     C/O Hanor Law Firm, PLLC,    112 W. Main Street,
                  Kingsport TN 37660-4214
14950672        +J.A. Street and Asociates,     245 Birch Street,    245 Birch Street,    Blountville TN 37617-4758
14950676        +JP Morgan Chase Bank, NA,     830 S. Mill Ave.,    Tempe AZ 85281-5602
14950674         Jason Hersh,    11424 E. Palomino Rd.,    Scottsdale AZ 85259-5829
14950675        +John Cushman,    3272 S. Steele St.,    Denver CO 80210-6954
14950678         KROGER (KRG LLC) NASHVILLE - RASC,     P.O. BOX 305103,    Nashville TN 37230-5103
14950677        +Kleen Concepts,    8388 E. Hartford Dr., #105,     Scottsdale AZ 85255-7806
14950679         Kyle Blackwell,    1904 E. Grand Canyon Dr.,     Chandler AZ 85249-2877
14950680        +Matt Retter,    4117 Caflur Ave.,    San Diego CA 92117-4437
14950681         Michele Saunders,    Sand Group LLC,    157 W. Inglewood St., #2,     Mesa AZ 85201-2257
14950682        +Michelle Perkins,    Owens & Perkins,    7322 E. Thomas Rd.,     Scottsdale AZ 85251-7295
14961732         NSF International,    Dept. Lockbox #771380,     P.O. Box 77000,    Detroit, MI 48277-1380
14950688        +NTS Q24 Holdings, LLC,     5001 E. Coimercecenter Dr.,    Bakersfield CA 93309-1659
14950687        +NTS Q24 Holdings, LLC,     27506 Highway 119,    Taft CA 93268-9734
14950684        +Nano Global Corp.,    Barbara Harding,    51 Louisiana Ave. NW,     Washington DC 20001-2105
14950683        +Nano Global Corp.,    1705 Guadalupe Street, 4th Floor,     Austin TX 78701-1272
14950685        +Nano Global Corp.,    Daniel Barr,    2901 N. Central Ave., #2000,     Phoenix AZ 85012-2740
14950691        +OFFICE OF THE UNITED STATES TRUSTEE ARIZ,      230 N. 1ST AVE,    SUITE 204,
                  PHOENIX AZ 85003-1725
14950690        +Office of Pesticide Programs,     Antimicrobials Division,     7510P 120 Pennsylvania Ave., N.W.,
                  Washington DC 20460-0001
14950692        +Paradies Shops, LLC,    2849 Paces Ferry Overlook,     Suite 400,    Atlanta GA 30339-3769
14950693         Randy Adams,    32215 Pacific Coast Highway,     Malibu CA 90265-2529
14950694         Robert Juby,    5801 Onyx Ave.,    Paradise Valley AZ 85253-1110
14950696         Robert Newberry,    15712 Lake Arrowhead Ave.,     Bakersfield CA 93314-8455
14950695         Robert Newberry,    15616 Stephenie St.,     Bakersfield CA 93314-8432
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14950707        STATE OF ARIZONA,    OFFICE OF THE ATTORNEY GENERAL,    1275 WEST WASHINGTON STREET,
                 PHOENIX AZ 85007-2926
14950697       +Sanders & Parks PC,    3030 N. 3rd St., #1300,    Phoenix AZ 85012-3068
14950699       +Scintilla Resources Pty Ltd,    C/O Michael Wolf,    11400 W. Olympic Blvd., 9th Floor,
                 Los Angeles CA 90064-1582
14950698        Scintilla Resources Pty Ltd,    Level 3, 16 Queensland Ave.,     P.O. Box 223,
                 Broadbeach QLD 4218, Australia
14959453       +Scott W. Hyder,    Law Office of Scott W. Hyder PLC,    3420 E. Shea Blvd., Ste. 200,
                 Phoenix, AZ 85028-3348
14950702       +Seven Badgers, LLC.,    W4644 Woodridge Dr.,    Monroe WI 53566-9449
14950703       +Shanks Leonhardt Sanders & Parks,    3030 N. 3rd Street, #1300,     Phoenix AZ 85012-3099
14950705       +Smyth-Washington Regional Industrial Fa,      Brandon Snodgrass,    PO Box 1417,
                 Abingdon VA 24212-1417
14950704       +Smyth-Washington Regional Industrial Fa,      Attn: Chairman,     1021 Terrace Dr.,
                 Marion VA 24354-4137
14950706       +Spark Design LLC,    60 E. Rio Salado Parkway, #900,    Tempe AZ 85281-9126
14950708        Svenn Rommerud,    Nedre Slottsgate, #23,    Postoks 577 0105, Norway
14950709       +Technology Sciences Group,    1150 18th Street NW,    Washington DC 20036-3840
14950710       +Theresa E. Valade,    Moffitt & Company, PC,    11811 N. Tatum Blvd., #2600,
                 Phoenix AZ 85028-1647
14950712        US ATTORNEY’S OFFICE,    TWO RENAISSANCE SQUARE 40 N. CENTRAL AVE,     SUITE 1200,
                 PHOENIX AZ 85004-4408
14950714       +US ATTORNEY’S OFFICE,    123 N. SAN FRANCISCO STREET,    SUITE 410,    FLAGSTAFF AZ 86001-5296
14950713        US ATTORNEY’S OFFICE,    405 W. CONGRESS STREET,    SUITE 4800,    TUCSON AZ 85701-5040
14950715       +US ATTORNEY’S OFFICE,    7102 E. 30TH STREET,    SUITE 101,   YUMA AZ 85365-6547
14950716      ++US PREMIUM FINANCE,    280 TECHNOLOGY PARKWAY,    SUITE 200,    NORCROSS GA 30092-2990
               (address filed with court: US Premium Finance,      280 Technology Parkway #200,
                 Norcross GA 30092)
14950711        United States Food & Drug Admin.,    Food & Drug Administration,     10903 New Hampshire Ave.,
                 Silver Spring MD 20993-0002
14950717       +Virginia Economic Development Partnersh,      Attn: Sandra McNinch,     901 East Cary Street,
                 Richmond VA 23219-4063
14950718       +WALGREEN,   P.O. BOX 4025,    Danville IL 61834-4025
14950719       +Wesley R. Furrh, Jr.,    16624 Paraduxx Ct.,    Bakersfield CA 93314-8382
14950720        Wesley R. Furrh, Jr.,    C/OOliver A. Beabeau Galbut & Galbut, PC,     Phoenix AZ 85016
14950654        bLink Strategy, LLC,    Robert L. Willamana,    5210 E. Williams Circle, #800,
                 Tucson AZ 85711-4482
14950653       +bLink Strategy, LLC,    11811 N. Tatum Blvd., #3031,    Phoenix AZ 85028-1621

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
14950671        E-mail/Text: cio.bncmail@irs.gov Feb 12 2019 02:07:58       INTERNAL REVENUE SERVICE,
                 1111 Constitution Ave., NW,    Washington DC 20224
14950686       +E-mail/Text: dave@northernfiltermedia.com Feb 12 2019 02:10:09       Northern Filter Media,
                 2509 Pettibone Ave.,   Muscatina IA 52761-9137
14950689       +E-mail/Text: osha.dcat@dol.gov Feb 12 2019 02:09:18
                 Occupational Safety and Health Administr,    200 Constitution Ave, N.W,     Room Number N3626,
                 Washington DC 20210-0001
14950701       +E-mail/Text: nyrobankruptcy@sec.gov Feb 12 2019 02:08:40       SECURITIES & EXCHANGE COMMISSION,
                 NEW YORK REGIONAL OFFICE,    BROOKFIELD PLACE, 200 Vesey St., #400,    NEW YORK NY 10281-8004
14950700       +E-mail/Text: secbankruptcy@sec.gov Feb 12 2019 02:08:30       SECURITIES & EXCHANGE COMMISSION,
                 SECRETARY OF THE TREASURY,    100 F STREET, NE,    WASHINGTON DC 20549-2000
14950716        E-mail/Text: jlippincott@uspremiumfinance.com Feb 12 2019 02:06:59       US Premium Finance,
                 280 Technology Parkway #200,    Norcross GA 30092
                                                                                               TOTAL: 6

            ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
intp             Nano Global Corporation
cr*             +Coating Systems Laboratories, Inc.,   c/o Renee Berman,   835 W. Warner Rd. #101 #614,
                  Gilbert, AZ 85233-7268
14950670*        INTERNAL REVENUE SERVICE,   PO BOX 7346,   PHILADELPHIA PA 19101-7346
14950655      ##+Bryant Hayward & Voula Siderakis,   13507 Hinault Dr.,   Bakersfield CA 93314-6607
                                                                                             TOTALS: 1, * 2, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’+++’ were transmitted to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(e).

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.
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                                      Form ID: pdf001                    Total Noticed: 87


             ***** BYPASSED RECIPIENTS (continued) *****

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Feb 13, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 11, 2019 at the address(es) listed below:
              BRADLEY A COSMAN    on behalf of Interested Party    Nano Global Corporation
               BCosman@perkinscoie.com, khutchison@perkinscoie.com,DocketPHX@perkinscoie.com,
               scarnall@perkinscoie.com
              BRADLEY DAVID PACK    on behalf of Plaintiff BRYANT HAYWARD bdp@eblawyers.com, kjs@eblawyers.com,
               bjc@eblawyers.com
              BRADLEY DAVID PACK    on behalf of Counter-Defendant Voula Siderakis aka Voula Hayward
               bdp@eblawyers.com, kjs@eblawyers.com,bjc@eblawyers.com
              BRADLEY DAVID PACK    on behalf of Counter-Defendant Bryant Hayward bdp@eblawyers.com,
               kjs@eblawyers.com,bjc@eblawyers.com
              CHRISTOPHER C. SIMPSON    on behalf of Debtor    Qore Systems, LLC christopher.simpson@stinson.com,
               Lindsay.petrowski@stinson.com,karen.graves@stinson.com
              CHRISTOPHER C. SIMPSON    on behalf of Defendant    QORE SYSTEMS LLC, AN ARIZONA LIMITED LIABILITY
               COMPANY christopher.simpson@stinson.com, Lindsay.petrowski@stinson.com,karen.graves@stinson.com
              DANIEL CLAYTON BARR    on behalf of Interested Party    Nano Global Corporation
               dbarr@perkinscoie.com, mvanolffen@perkinscoie.com,Docketphx@perkinscoie.com
              DANIEL CLAYTON BARR    on behalf of Defendant    NANO GLOBAL CORP., A DELAWARE CORPORATION
               dbarr@perkinscoie.com, mvanolffen@perkinscoie.com,Docketphx@perkinscoie.com
              DANIEL CLAYTON BARR    on behalf of Plaintiff    Nano Global Corporation dbarr@perkinscoie.com,
               mvanolffen@perkinscoie.com,Docketphx@perkinscoie.com
              DANIEL TODD MOSS    on behalf of Interested Party    Nano Global Corporation dtmoss@jonesday.com
              DINA ANDERSON     DAnderson@DLATrustee.com,lbailey@DLATrustee.com,dlanderson@ecf.epiqsystems.com,
               dla@trustesolutions.net,tkirn@dlatrustee.com
              DINA ANDERSON     on behalf of Trustee DINA ANDERSON DAnderson@DLATrustee.com,
               lbailey@DLATrustee.com,dlanderson@ecf.epiqsystems.com,dla@trustesolutions.net,
               tkirn@dlatrustee.com
              FAY W. BIDLACK    on behalf of Interested Party Michelle Perkins fbidlack@jsslaw.com,
               lbourland@jsslaw.com,dsharp@jsslaw.com
              RYAN W. ANDERSON    on behalf of Trustee DINA ANDERSON randerson@gamlaw.com,
               jcampanaro@gamlaw.com,thurd@gamlaw.com
              SCOTT W. HYDER    on behalf of Defendant   COATING SYSTEMS LABORATORIES INC., AN ARIZONA
               CORPORATION Shyder@scotthyderlaw.com
              SCOTT W. HYDER    on behalf of Creditor   Coating Systems Laboratories, Inc.
               Shyder@scotthyderlaw.com
              U.S. TRUSTEE   USTPRegion14.PX.ECF@USDOJ.GOV
              WARREN J. STAPLETON    on behalf of Defendant    WILLIAM R PETERSON III AND TIFFANY PETERSON,
               MARRIED PERSONS wstapleton@omlaw.com, pnieto@omlaw.com
              WARREN J. STAPLETON    on behalf of Interested Party Tiffany Peterson wstapleton@omlaw.com,
               pnieto@omlaw.com
              WARREN J. STAPLETON    on behalf of Defendant    VINCE ADAM AND JANE DOE ADAM, MARRIED OR SINGLE
               PERSONS wstapleton@omlaw.com, pnieto@omlaw.com
              WARREN J. STAPLETON    on behalf of Interested Party William R. Peterson wstapleton@omlaw.com,
               pnieto@omlaw.com
              WARREN J. STAPLETON    on behalf of Interested Party Vince Adam wstapleton@omlaw.com,
               pnieto@omlaw.com
                                                                                              TOTAL: 22
                                                                  1
                                                                       Ryan W. Anderson (Ariz. No. 020974)
                                                                  2    5415 E. High St., Suite 200
                                                                       Phoenix, Arizona 85054
                                                                  3    Email: randerson@gamlaw.com
                                                                       Phone: (480) 304-8300
                                                                       Fax: (480) 304-8301
                                                                  4
                                                                       Attorneys for Dina L. Anderson, the Chapter 7 Trustee
                                                                  5

                                                                  6

                                                                  7                          IN THE UNITED STATES BANKRUPTCY COURT
                                                                                                   FOR THE DISTRICT OF ARIZONA
                                                                  8
                                                                        In Re:                                        Case No. 2:18-bk-02788-BKM
                                                                  9
                                                                                                                      Chapter 7
Guttilla Murphy Anderson, P.C.




                                                                        Qore Systems, LLC
                                                                  10
                                                                                                                      NOTICE OF HEARING ON MOTION TO
                                 5415 E. High Street, Suite 200




                                                                                                                      APPROVE SETTLEMENT AGREEMENT
                                      Phoenix, AZ 85054




                                                                  11
                                        (480) 304-8300




                                                                                 Debtor.                              PURSUANT TO FED. R. BANKR. P. 9019
                                                                  12                                                  BETWEEN TRUSTEE, DEBTOR, NANO
                                                                                                                      GLOBAL CORP., COATING SYSTEMS
                                                                  13                                                  LABORATORIES, INC., RENEE
                                                                                                                      BERMAN, KYMBERLY PETERSON,
                                                                  14                                                  AND THE PETERSON ESTATE

                                                                                                                      Hearing Date: March 13, 2019
                                                                  15                                                  Hearing Time: 11:00 a.m.
                                                                                                                      Hearing Place: Courtroom 701
                                                                  16

                                                                  17
                                                                              NOTICE IS HEREBY GIVEN that the Chapter 7 Trustee, Dina L. Anderson (the
                                                                       ³7UXVWHH´KDVILOHGher Motion to Approve Settlement Agreement Pursuant to Fed. R. Bankr. P.
                                                                  18
                                                                       9019 between Trustee, Debtor, Nano Global Corp., Coating Systems Laboratories, Inc., Renee
                                                                       Berman, Kymberly Peterson, and the Peterson Estate ³3DUWLHV´ ³0RWLRQ´ ³3DUWLHV´, seeking
                                                                  19
                                                                       approval of a settlement agreement between the Trustee and the Parties. The material terms of the
                                                                       Settlement between the Parties are as follows:
                                                                  20
                                                                               The $650,000 currently held in trust by the Trustee shall be deemed property of the
                                                                  21
                                                                       Bankruptcy Estate. From the property of the Bankruptcy Estate, the Trustee shall distribute
                                                                       $125,000 to Nano Global and $250,000 to CSL. The Bankruptcy Estate shall retain the balance of
                                                                  22
                                                                       $275,000, on behalf of the estate, in resolution of all matters relating to disputes between each
                                                                       other, pursuant to the terms of the Settlement and Release Agreement;
                                                                  23

                                                                  24
                                                                  1          The 6WRFN3XUFKDVH$JUHHPHQW³63$´EHWZHHQWKH'HEWRUDQG1DQR*OREDOLVIXOO\DQG
                                                                       completely rescinded and revoked. No person or entity, including but not limited to the Debtor and
                                                                  2    Nano Global, shall have any continuing obligations under the SPA;

                                                                  3           All rights in patents, patent applications, and trademarks currently held by the Bankruptcy
                                                                       Estate will be assigned to CSL;
                                                                  4
                                                                              The Consulting Agreements between Nano Global and Ms. Berman and Ms. Peterson are
                                                                  5    terminated;

                                                                  6           All Nano Global stock of any kind or class currently held by: (1) Ms. Berman; (2) Ms.
                                                                       Peterson; (3) the Peterson Estate; and (4) CSL shall be transferred to Nano Global within 10
                                                                  7    business days of the Effective Date of the Settlement Agreement;

                                                                  8           $OORI'HEWRU¶VPHPEHUVKLSLQWHUHVWRIDQ\NLQGRUFODVV³4RUH(TXLW\´FXUUHQWO\KHOGE\
                                                                       Nano Global shall be transferred to the Trustee within 10 business days of the Effective Date of the
                                                                  9    Settlement Agreement. Nano Global shall promptly execute any reasonable and appropriate
                                                                       documentation to transfer the Qore Equity to the Trustee;
Guttilla Murphy Anderson, P.C.




                                                                  10
                                 5415 E. High Street, Suite 200




                                                                             Nano Global shall, within 10 business days of the Effective Date of the Settlement
                                      Phoenix, AZ 85054




                                                                  11   Agreement, file a Notice of Withdrawal of the Nano Complaint with prejudice;
                                        (480) 304-8300




                                                                  12           The Nano Proof of Claim shall be liquidated and allowed in the amount of $3.1M, but shall
                                                                       be subordinate to all allowed general unsecured claims of the Debtor. Any recovery on account of
                                                                  13   WKH OLTXLGDWHG DQG DOORZHG 1DQR 3URRI RI &ODLP VKDOO EH SDLG RQO\ DIWHU 'HEWRU¶V DOORZHG
                                                                       administrative and general unsecured claims are paid in full;
                                                                  14
                                                                               7KH7UXVWHHVKDOOQRWREMHFWWR&6/¶VDPHQGHGSURRIRIFODLP7RWKHH[WHQWWKDWIXQGVDUH
                                                                  15   DYDLODEOHIRUGLVWULEXWLRQWRFUHGLWRUV&6/¶VSURRIRIFODLPVKDOOEHSDLGWKURXJKWKH%DQNUXSWF\
                                                                       Estate in accordance with the Bankruptcy Code; and
                                                                  16
                                                                               The Parties have agreed to comprehensive releases of any and all claims, damages, losses,
                                                                  17   injuries, causeV RI DFWLRQV MXGJPHQWV REOLJDWLRQV DWWRUQH\V¶ IHHV LQGHPQLWLHV VXEURJDWLRQV
                                                                       duties, contracts, liens, demands, controversies and liabilities of any and every nature at law or in
                                                                  18   equity, liquidated or unliquidated, known or unknown, suspected or unsuspected, disclosed or
                                                                       undisclosed, matured or unmatured, foreseeable or unforeseeable.
                                                                  19
                                                                              NOTICE IS FURTHER GIVEN that a hearing on 7UXVWHH¶V0RWLRQZLOOEHKHOGRQWKH
                                                                  20   13th day of March, 2019 at 11:00 a.m., 7th Floor in Courtroom 701, at the United States
                                                                       Bankruptcy Court, 230 N. First Avenue, Phoenix, AZ 85003-1706.
                                                                  21
                                                                              A copy of the motion may EHREWDLQHGIURP7UXVWHH¶Vundersigned Counsel at the address
                                                                  22   given below upon request.

                                                                  23          A copy of the Motion is on file with the Clerk of the Court and can be obtained upon
                                                                       UHTXHVWIURP7UXVWHH¶VFRXQVHO$Q\REMHFWLRQVWRWKH0RWLRQPXVWEHILOHGZLWKWKH&OHUNRIWKH
                                                                  24   Court at 230 N. First Avenue, Suite 101, Phoenix, AZ 85003-1706 not later than ten (10) calendar
                                                                  1    GD\VEHIRUHVXFKKHDULQJDQGDFRS\VHUYHGXSRQ7UXVWHH¶VFRXQVHO5\DQ:$QGHUVRQRI*XWWLOOD
                                                                       Murphy Anderson, 5415 East High Street, Suite 200, Phoenix, Arizona 85054.
                                                                  2
                                                                                Dated this 11th day of February, 2019.
                                                                  3
                                                                                                             GUTTILLA MURPHY ANDERSON, P.C.
                                                                  4
                                                                                                             /s/ Ryan W. Anderson
                                                                  5                                          Ryan W. Anderson
                                                                                                             Attorneys for the Trustee
                                                                  6

                                                                  7
                                                                       2595-001(359637)

                                                                  8

                                                                  9
Guttilla Murphy Anderson, P.C.




                                                                  10
                                 5415 E. High Street, Suite 200
                                      Phoenix, AZ 85054




                                                                  11
                                        (480) 304-8300




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